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United States District Court

Central District of California

CERTIFICATE OF
GOOD STANDING

 

I, KIRY K. GRAY, Clerk of this Court, certify that

Victor Sherman , Bar No. 38483

 

 

was duly admitted to practice in this Court on November 28, 1966

 

DATE

and is in good standing as a member of the Bar of this Court.

Dated at Los Angeles, California

on April 19, 2021

Date

 

KIRY K. GRAY
Clerk of Court

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~ Lupe Thrasher —_, Deputy Clerk

   
   

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G52 (10/15) ° : CERTIPICATE GF GOOD STANDING - BAR MEMBER
